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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                         :        CHAPTER 11
                                               :
HP/ SUPERIOR, INC. and SUPERIOR                :        JOINTLY ADMINISTERED UNDER
HEALTHCARE INVESTORS, INC.,                    :        CASE NO. 14-71797 - PWB
                                               :
            Debtors.                           :


   MOTION TO CONVERT CASE TO A CASE UNDER CHAPTER 7, TERMINATE
 JOINT ADMINISTRATION AND SEVER CASES, AND REQUEST FOR EXPEDITED
                             HEARING

            COMES NOW S. Gregory Hays, as Chapter 11 Trustee (“Trustee”) for the bankruptcy

estate of HP/ Superior, Inc. (“Debtor”), and hereby files this Motion to Convert Case to a Case

under Chapter 7, Terminate Joint Administration and Sever Cases, and Request for Expedited

Hearing (the “Motion”). In support of the Motion, Trustee shows the Court as follows:

                                       Jurisdiction and Venue

                                                   1.

            This Court has jurisdiction to consider this request pursuant to 28 U.S.C. §§ 157 and

1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before

this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                        General Background

                                                   2.

            Debtor initiated this case (Case No. 14-71797-PWB) (“Debtor’s Case”) by filing a

voluntary petition for relief under Chapter 11 of Title 11 of the United States Code on November

3, 2014 (the “Petition Date”).



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                                                   3.

            On January 6, 2015, Superior Healthcare Investors, Inc. (“Superior”) filed a voluntary

petition for relief under Chapter 11 of Title 11 of the United States Code, initiating Case No. 15-

50439-PWB in the United States Bankruptcy Court, Northern District of Georgia, Atlanta

Division (the “Superior’s Case”).

                                                   4.

            On January 14, 2015, Debtor and SHI jointly filed a Motion for Entry of Order

Authorizing Joint Administration [Doc. No. 49] (the “Joint Administration Motion”), requesting

that Debtor’s Case and Superior’s Case be jointly administered under 11 U.S.C. § 1015(b).

                                                   5.

            On February 3, 2015, this Court entered an order [Doc. No. 59] granting the Joint

Administration Motion.

                                                   6.

            On September 11, 2015, CSE Mortgage LLC (“CSE”) filed a Motion for Appointment of

Chapter 11 Trustee, or in the Alternative, for Conversion to Chapter 7 [Doc. No. 118], seeking

the appointment of a Chapter 11 Trustee or alternatively a conversion of the jointly administered

cases to cases under Chapter 7.

                                                   7.

            On October 27, 2015, the Court entered an order [Doc. No. 141] directing the

appointment of Chapter 11 Trustees on behalf of Debtor and Superior. The portion of CSE’s

motion related to conversion to Chapter 7 was tabled for a later determination, following notice

and a hearing. [Doc. No. 141].



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                                                      8.

            On October 30, 2015, the Court entered an order [Doc. No. 146] approving Trustee as

Chapter 11 Trustee for Debtor, and on the same day the Court entered an order [Doc. No. 23;

Case No 15-50439-PWB] appointing Cathy L. Scarver as Chapter 11 Trustee in Superior’s Case.

                                                      9.

            Upon information and belief, Debtor and Superior sold their primary assets before

Trustee and Ms. Scarver were appointed as Chapter 11 Trustee in the respective cases. See [Doc.

No. 97 at ¶¶ 17-19].

                                                      10.

            Upon information and belief, there are sufficient potential actions to pursue in Debtor’s

Case to result in a meaningful recovery for Debtor’s estate.

                                             Relief Requested

                                                      11.

            By this Motion, Trustee requests that the Court convert the Debtor’s Case to a case under

Chapter 7 nunc pro tunc to the date of the filing of this Motion.

                                                      12.

            Trustee also requests that the Court terminate the joint administration of and sever

Debtor’s Case and Superior’s Case nunc pro tunc to the date of the filing of this Motion.

                                                      13.

            Finally, Trustee requests that the Court set this Motion for hearing on an expedited basis.




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                                             Basis for Relief

                                                      14.

            Section 1112(b) of the Bankruptcy Code, in pertinent part, provides as follows:

                   “[T]he court shall convert a case under this chapter to a case under chapter
                   7 . . . if the movant establishes cause . . .

                   (4) For purposes of this subsection, the term ‘cause’ includes-

                           (A)     substantial or continuing loss to or diminution of the estate
                                   and the absence of a reasonable likelihood of rehabilitation
                                   . . . .”

11 U.S.C. § 1112(b) (2015).
                                                      15.

            The administration of Debtor’s Case will be more effective and more efficient under

Chapter 7 as there remains no operating business. Moreover, the elimination of certain expenses

unique to Chapter 11, such as U.S. Trustee fees and expenses related to the filing of monthly

financial reports, should minimize expenses and ensure a maximum recovery to the estate. In

addition, there is no reasonable likelihood of rehabilitation of Debtor’s business operations as

they have been transferred as part of the previously mentioned sale.

                                                      16.

            Accordingly, it is in the best interests of Debtor’s creditors and estate that this case be

converted to a case under Chapter 7.

                                                      17.

            In addition, the sale of substantially all of Debtor’s and Superior’s assets has made joint

administration of their cases unnecessary and likely impracticable. And, it is in the best interests




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of Debtor’s creditors and Superior’s creditors that the joint administration of their cases be

terminated.

                                                     18.

            Trustee has consulted with Ms. Scarver, and Ms. Scarver is in agreement that the joint

administration should be terminated and the cases severed.

                                                     19.

            Finally, given the potential for surmounting Chapter 11 administrative expenses, and the

fact that the Court previously tabled a request to convert Debtor’s Case to a case under Chapter

7, an expedited hearing on this Motion is in the best interests of Debtor and Debtor’s creditors.

            WHEREFORE, Trustee requests that this Court (a) set this matter for hearing on an

expedited basis; (b) convert Debtor’s Case to Chapter 7 pursuant to 11 U.S.C. §1112(b) effective

as of the date of the filing of this Motion; (c) direct the appointment of a Chapter 7 trustee for

Debtor’s bankruptcy estate; (d) terminate the joint administration of and sever Debtor’s Case and

Superior’s Case effective as of the date of the filing of this Motion; (e) grant such other and

further relief as the Court deems just and proper.

            Respectfully submitted this 4th day of November, 2015.


                                                           ARNALL GOLDEN GREGORY LLP
                                                           Proposed Attorneys for Trustee

                                                           By: /s/ Michael J. Bargar
                                                               Michael J. Bargar
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                                    CERTIFICATE OF SERVICE

            This is to certify that I have this day served the foregoing Motion to Convert Case to a

Case under Chapter 7, Terminate Joint Administration and Sever Cases, and Request for

Expedited Hearing by depositing in the United States mail a copy of same in a properly

addressed envelope with adequate postage affixed thereon to assure delivery by first class mail to

the following entities at the addresses stated:

Office of the United States Trustee                     G. Frank Nason, IV
362 Richard B. Russell Building                         Lamberth, Cifelli, Ellis & Nason, P.A.
75 Ted Turner Drive, SW                                 1117 Perimeter Center West
Atlanta, GA 30303                                       Suite W 212
                                                        Atlanta, GA 30338
S. Gregory Hays
Hays Financial Consulting, LLC                          HP/Superior, Inc.
3343 Peachtree Road, NE, Suite 200                      5174 McGinnis Ferry Road
Atlanta, GA 30326                                       Suite 195
                                                        Alpharetta, GA 30005
Cathy L. Scarver
P. O. Box 672587                                        Kevin A. Stine
Marietta, GA 30006                                      Baker Donelson Bearman
                                                        Monarch Plaza, Suite 1600
Ashley Reynolds Ray                                     3414 Peachtree Road, NE
Scroggins & Williamson                                  Atlanta, GA 30326
1500 Candler Building
127 Peachtree Street, NE                                Superior Healthcare Investors, Inc.
Atlanta, GA 30303                                       1800 New York Avenue
                                                        Superior, WI 54880



            This 4th day of November, 2015.

                                                        /s/ Michael J. Bargar
                                                        Michael J. Bargar
                                                        Georgia Bar No. 645709




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